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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                           MIDDLE DIVISION

 JOSHUA OTWELL, an                     )
 individual,                           )
 DANNA LEE OTWELL, an                  )
 individual,                           )
                                       ) Civil Action No.:
 Plaintiffs,                           )
                                       ) 4:19-cv-01120-ACA
 v.                                    )
                                       )
 HOME POINT FINANCIAL                  )
 CORP., a Corporation;                 )
                                       )
 Defendant.

      PLAINTIFF’S RESPONSE TO MOTION TO STRIKE [DOC. 50]

         COMES NOW, the Plaintiffs, by and through counsel and hereby respond to

Defendant, Home Point Financial Corp.’s Motion to Strike Plaintiffs’ Affidavits.


I.        Home Point’s Motion to Strike is Due to Be Denied.

         Defendants seek to strike from the record the supplemental affidavits filed

by Plaintiffs Joshua Otwell and Danna Lee Otwell [Docs 42-1 and 48-2].

Respectfully, Home Point’s motion is improper as the vehicle to challenge

evidence submitted in support of summary judgment was changed in the 2010

amendments to the federal rules. Fed. R. Civ. P. 56(c)(2). The middle district court

noted,

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        But Rule 56(c)(2) itself now provides that "[a] party may object that
        the material cited to support or dispute a fact cannot be presented in
        a form that would be admissible in evidence." Under this procedure,
        once an objection is made, "[t]he burden is on the proponent to
        show that the material is admissible as presented or to explain the
        admissible form that is anticipated." Fed. R. Civ. P. 56, advisory
        committee's note to 2010 amendments. Thus, because "[t]he plain
        meaning of these provisions show that objecting to the admissibility
        of evidence supporting a summary judgment motion is now a part of
        the summary judgment procedure, rather than a separate motion to
        be handled preliminarily," Campbell, 546 F. App'x at 879, the court
        will construe Defendants' motions to strike as Rule 56(c)(2)
        objections. See, e.g., Samuels v. City of Birmingham, No.
        2:15-cv-1374-MHH, 2017 WL 4340494, at *6 (N.D. Ala. Sept. 29,
        2017) (doing same).


Beasley v. 500 Finishes Corp., No. 2:17-CV-92-WKW [WO], at *8 (M.D. Ala.

Aug. 13, 2018).

       Courts have further noted that courts should not strike submitted materials,

but address the objections “in the interest of a complete factual and legal record.”

Thornton v. Mercantile Stores Co., Inc., 13 F. Supp. 2d 1282, 1284 n.1 (M.D. Ala.

1998). Additionally, it is up to the discretion of the trial court whether to consider

supplemental evidence or arguments. White Arnold & Dowd P.C. v. Dep't of

Justice, Case No.: 2:15-cv-00837-RDP, at *3 n.5 (N.D. Ala. June 2, 2017)(Court

allowed Plaintiff's supplemental evidence after the summary judgment motions

were fully briefed).




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      While Plaintiffs filed their Supplemental Affidavits after the court’s

deadline, they did so in response to what the undersigned interpreted to be a new

standard imposed on Plaintiff’s to support their mental anguish damages requiring

a level of detail under the Lodge standard not previously required necessitating

corroborating evidence from Plaintiffs.

      These supplemental affidavits were not surprising or new evidence to

Defendant as the Defendant chose not to conduct discovery. Defendant issued no

interrogatories, request for documents, request for admissions and chose not to

depose Plaintiffs. Defendant can hardly claim undue prejudice from Plaintiffs’

supplemental affidavits more fully fleshing out and corroborating their damages in

response to the application of Lodge to plaintiffs’ claims.


II.   Otwell’s Supplemental Affidavits Are Consistent and Merely Expand on
      Their Prior Testimony.

       Home point seeks to have this court reject Plaintiffs’ supplemental affidavits

arguing that they are a “sham” are “patently inconsistent with the first affidavits”

and an effort to “manufacture a genuine issue of material fact single ‘with an

affidavit that merely contradicts, without explanation, previously given clear

testimony.’” [Doc. 50 at p. 2].




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      Home Point must meet an extremely high burden to have this court reject the

Otwell’s subsequent affidavits on the basis that they conflict with prior testimony.

Allowing subsequent affidavits, one court noted,

      Suffice it to say, the discrepancies Defendants see, if discrepancies
      they be, do not meet the high standard necessary for this court to
      disregard the affidavit testimony altogether. See Lane v. Celotex
      Corp., 782 F.2d 1526, 1532 (11th Cir. 1986) ("[W]e may only
      disregard an affidavit that contradicts, without explanation, previously
      given clear testimony. The earlier deposition testimony must consist
      of clear answers to unambiguous questions which negate the existence
      of any genuine issue of material fact." (citations and internal quotation
      marks omitted)).

Beasley v. 500 Finishes Corp., No. 2:17-CV-92-WKW [WO], at *11 (M.D. Ala.

Aug. 13, 2018).

         Home Point’s basis for this accusation springs from its strained effort to

recharacterize Plaintiffs’ affidavits and ignore common sense, arguing falsely that

Plaintiffs’ damages testimony in their original affidavits was based solely on the

denial of a loan modification. [Doc. 50 at p. 2].1 In fact, Plaintiffs’ initial affidavits

spell out the lengthy process by which the Otwells dealt with Home Point and how

confusing and frustrating that was. (Doc. 32-1 ¶¶ 7- 30 and Doc.32-10 ¶¶ 7- 30).

        For example paragraphs 7 through 9 of Josh Otwell’s Affidavit discuss the

situation by which the Otwells believed they had completed the trial payment plan
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  While Plaintiffs certainly presented damages rooted in the modification denial,
that was not the sole basis or focus of Plaintiffs’ damages in their original affidavits.

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but then started having their payments rejected. (Doc. 32-1 ¶7-9) Paragraph 10

notes that the Otwells received a FedEx envelope with a “strange group of

documents” and paragraph 12 notes that the documents “did not tell us how much

our monthly payments would be or when the monthly payments were due but only

showed a balloon payment due on or before February 1 2045.” (Doc. 32-1 ¶10,12)

Paragraph 13 states how confusing the note was in paragraph 14 stating “we were

confused by this as we did not know if or how the Secretary of Housing and Urban

Development was related to Home Point and if this was supposed to be the

modification.” (Doc. 32-1 ¶14)      Paragraphs 15 through 19 further detail the

confusing chain of events with Josh Otwell stating “this caused more confusion

and distrust of Home Point since they could not even get the amount we were

behind consistently in two letters two days apart.” (Doc. 32-1 ¶15-19 Paragraph 21

states upset and frustration from the confusion of receiving door hangers because

the Otwells were not told why they were not offered the modification and then

Home Point refused to talk to them or their lawyers. (Doc. 32-1 ¶20-21).

      Paragraphs 23 through 29 further document the confusing communications.

(Doc. 32-1 ¶23-29).2 It is clear and reasonable that most any individual would be


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  Plaintiff Danna Lee Otwell’s affidavit details the same basic facts concerning the
communications and confusion and frustration resulting from this confusion.

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adversely affected from a mental standpoint given the confusing communications

and potential for losing their home. The fact that Plaintiffs don't state at the end of

each    paragraph      documenting        the    confusing      communications         that   this

communication caused them to be upset or angry or frustrated or worried or

stressed does not mean that they were not so. Plaintiffs note their confusion and at

the communications and how upsetting and frustrating they were from those

communications they just detailed over almost twenty paragraphs. (Doc. 32-1 ¶¶

4-21; Doc. 32-10 ¶¶ 4-21 ).

       District courts should only reject subsequent affidavit testimony that

obviously contradicts clear deposition testimony in response to a clear and

unambiguous question.3 The Eleventh Circuit has described Home Point’s heavy

burden as follows:

       Recognizing that parties may try to escape summary judgment by
       using affidavits to create issues of fact where none existed, we have
       allowed an affidavit to be disregarded as a "sham" if it flatly
       contradicts earlier deposition testimony without valid explanation. Van
       T. Junkins & Assocs., Inc. v. U.S. Indus., Inc., 736 F.2d 656, 657 (11th
       Cir. 1984). "When a party has given clear answers to unambiguous
       questions which negate the existence of any genuine issue of material
       fact, that party cannot thereafter create such an issue with an affidavit
       that merely contradicts, without explanation, previously given clear
       testimony." Id. But the court must be careful to distinguish "between

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  Plaintiff’s subsequent affidavits incorporate the testimony of the prior affidavits. (Doc. 48-1 ¶
2; Doc. 48-2 ¶ 2) Additionally, they are not even attempts to clean up deposition testimony as
there were no depositions in this case.

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      discrepancies which create transparent shams and discrepancies which
      create an issue of credibility or go to the weight of the evidence."
      Tippens v. Celotex Corp., 805 F.2d 949, 953 (11th Cir. 1986).

      [E]very discrepancy contained in an affidavit does not justify a district
      court's refusal to give credence to such evidence. In light of the jury's
      role in resolving questions of credibility, a district court should not
      reject the content of an affidavit even if it is at odds with statements
      made in an early deposition.

      Id. at 954 (quoting Kennett-Murray Corp. v. Bone, 622 F.2d 887, 894
      (5th Cir. 1980)) (alteration in original) (citation omitted).

Faulk v. Volunteers of America, 444 F. App'x 316, 4 (11th Cir. 2011).

      The Otwells’ Supplemental Affidavits do not contradict their prior testimony

but merely expand on it and more clearly set out their mental anguish in the detail

required under the Lodge. Additionally the Otwells’ affidavits corroborate the

mental anguish each other suffered in greater detail, identifying specific instances

and observations where they observed each other’s mental anguish. Also, based on

their common knowledge and experiences of what was going on at the time they

related that mental anguish to the actions of Home Point.

      The Otwell’s supplemental affidavits provide additional detail consistent

with their prior affidavits as to what was actually going on and what they

experienced and should be considered by this court.

III. The Otwells Can testify as to Their Spouse’s mental Anguish and
     Reasonably Relate it to the Events going on at the Time.


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      Home Point attempts to argue, without authority, that one spouse is

not qualified to testify as to the other spouse’s emotional distress, how that

affected the other spouse and what it was that had the spouse upset, stressed,

worried, embarrassed, stress eating, crying or losing sleep. Home Point

asserts that this is only within the purview of a scientific expert.

      Neither Otwell is attempting to testify as a scientific expert, but based

on their close intimate relationship as husband and wife who have been

married since 2003, have lived together continuously since then and have

observed each other on a daily basis since then. (Doc. 48-1 ¶¶ 3-5; Doc. 48-2

¶¶ 3-5). This argument by Defendant Home Point is odd to put it gently that

one spouse is incapable of knowing when the other spouse is upset, etc.

      Fed.R.Evid. 701 governs such testimony to the extent it might fall under

opinion testimony and states:

   If the witness is not testifying as an expert, the witness' testimony in the
   form of opinions or inferences is limited to those opinions or inferences
   which are (a) rationally based on the perception of the witness; (b)
   helpful to a clear understanding of the witness' testimony or the
   determination of a fact in issue; and (c) not based on scientific, technical,
   or other specialized knowledge within the scope of Rule 702.

      One court noted,

      an essential difference is that Rule 701 requires direct personal
      knowledge of the factual matter at issue. Only then does it allow
      introduction of a limited degree of opinion testimony to help convey
      that information and only if the court finds that it would be helpful to

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      the trier of fact." Id. Additional distinction between lay and expert
      testimony was made in United States v. Frantz, 2004 WL 5642909
      (C.D. Cal.).
      Lay opinion testimony most often takes the form of a summary of
      firsthand observations . . . it is admissible only to help the jury or the
      court to understand the facts about which the witness is testifying and
      not to provide specialized explanations or interpretations that an
      untrained layman could not make if perceiving the same acts or
      events. Id. at *12. See also, United States v. Espino,317 F.3d 788, 797
      (8th Cir. 2003) (Fed.R.Evid. 701 allows lay opinion based on witness's
      perception of events).

Cobb v. Knode, CIV. 09-4110, at *12 (D.S.D. Sep. 9, 2010)

      The middle district examined similar testimony of mental anguish damages

holding that spouses are clearly qualified to testify as to each other’s mental

anguish damages, stating,

      Mr. and Mrs. McLean testified about the increased stress and anxiety
      [sic] they each suffered and suffered by the other spouse after Green
      Tree's violative filing. Mr. McLean would have suffered some level of
      stress and anxiety due to his PTSD and the anniversary of his injury,
      but Green Tree's filing was found to have exacerbated the symptoms,
      resulting in more frequent nightmares and night sweats, increased
      anxiety and withdrawal, and increased usage of medication. The
      testimony of the McLeans, which the Bankruptcy Court found
      credible and Green Tree does not dispute, is “corroborating non-expert
      testimony” sufficient to clearly establish significant emotional harm.
McLean v. Greenpoint Credit LLC, 515 B.R. 841, 849 (M.D. Ala. 2014).

      Mclean went on to note “[t]he McLeans' emotional harm naturally and

directly followed Green Tree's filing of a proof of claim on a discharged debt, and

it is a reasonably foreseeable result in a chapter 13 bankruptcy.” McLean v.

Greenpoint Credit LLC, 515 B.R. 841, 849 (M.D. Ala. 2014); see also Benjamin v.


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Shaw, Civil Action No.: 4:15-cv-05110-RBH, at *16 n.9 (D.S.C. July 28,

2017)(Lay witness’ belief that she did not think plaintiff will get any better was a

proper lay opinion concerning his physical limitations, given that witness lived

with plaintiff since leaving the hospital and interacted with him on a daily basis

and was familiar with his physical condition before the accident and after the

accident and has observed him for three-and-a-half years post-accident.) See also

Roche v. Young Bros., of Florence, 332 S.C. 75, 86, 504 S.E.2d 311, 317 (1998)

("Generally, an ordinary observer who has had the opportunity for observation may

state the health or physical condition of another, who has been injured, to enable

the fact finder to draw a correct inference. 32 C.J.S. Evidence § 552 (1996). . . . We

find that [the plaintiff]'s testimony involved her ordinary observations of her

husband's physical condition following the accident.").

      Home Point seeks to require Plaintiff’s to provide expert medical testimony

to relate Plaintiffs’ stress, anxiety, bouts of crying, loss of sleep, stress eating,

withdrawing from each other and their family and issues such as high blood

pressure and a panic attack to Home Point’s actions. Not only is this not the

standard and not required under the federal rules, but Home Point seems to be

creating a nearly impossible standard. What test would a doctor run to relate loss of

sleep, stress eating or crying to Home Point’s conduct? Doctors will frequently

hedge as to complete causation for actual physical injuries from a trauma much



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less provide the causation testimony demanded by Home Point. This argument by

Home Point flies in the face of anyone who has ever lived with another human

being and is especially odd to argue about a couple married for the last 17 years.

      Based on their years of experience with each other, having been married

since 2003 and daily observations of each other Plaintiffs were more than qualified

to corroborate each other’s mental anguish based on their observations.


                                   CONCLUSION


      This court should Deny Home Point’s Motion to Strike plaintiffs’

supplemental affidavits.      Furthermore, Plaintiffs’ supplemental affidavits are

appropriate and necessary in light of the higher standard of proof for mental

anguish damages required by the application of Lodge to Plaintiffs’ emotional

distress damages under RESPA and the FDCPA. Thus, this court should consider

Plaintiffs’ supplemental affidavits in support of Plaintiffs’ opposition to summary

judgment and motion for reconsideration. Plaintiff’s supplemental affidavits

accurately reflect the damages suffered by Plaintiffs and those which should be

considered by the jury at trial.




                                       Respectfully Submitted,



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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 6, 2021, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to the following:


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                                                  /s/ M. Stan Herring
                                                  OF COUNSEL




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